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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

MARSHALL DIVISION
GENBAND US LLC §
§
Plaintiff, §
§
Vv. § Civil Action No. 2:14-cv-33
§
METASWITCH NETWORKS LTD; §
METASWITCH NETWORKS CORP., §
§
§
Defendants. §

VERDICT FORM

In answering these questions, you are to follow all of the instructions I have given you in
the Court’s Final Instructions to the Jury. Your answers to each question must be unanimous.
In this Verdict Form, “Genband” refers to Genband US LLC and “Metaswitch” refers to

Metaswitch Networks Ltd. and Metaswitch Networks Corp.

 
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1, INFRINGEMENT

Has Genband proven by a preponderance of the evidence that Metaswitch infringes the
following claims of the following Patents?

For each claim, write either “Yes” (for infringement) or “No” (for no infringement),

A. U.S. Patent No. 6,791,971
Claim 70 NES
Claim 80
Claim 92

 

B. U.S. Patent No. 6,885,658
Claim 1 Yes

Claim 11

 

C. US. Patent No. 6,934,279
Claim 25 VEE

 

D. US. Patent No. 7,995,589
Claim 15 YES

E, U.S. Patent No. 7,047,561
Claim 6 YES

Claim 17
Claim 20

Noe

 

F. U.S. Patent No. 7,184,427

Claim I

 

G. U.S. Patent No. 7,990,984
Claim 1 ‘ | 5

 
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2. INVALIDITY

Has Defendant Metaswitch proven by clear and convincing evidence that any of the
following claims are invalid?

For each claim, write either “Yes” (for invalid) or “No” (for not invalid).

A, U.S. Patent No. 6,791,971
Claim 70 We

Claim 80
Claim 92

 

B. U.S. Patent No. 6,885,658
Claim 1
Claim 11

 

Cc. US. Patent I No. 6,934,279
Claim 25 .

 

D. USS. Patent! No. 7,995,589
Claim 15 }

 

E. US. Patent No. 7,047,561
Claim 6

Claim 17
Claim 20

 

F, U.S. Patent No. 7,184,427
Claim 1

 

G. U.S. Patent No. 7,990,984
Claim 1 ;

 

 
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Answer the following question on damages only if you have found at least one claim of one
patent both infringed (“Yes” answer to any part of Question 1) and that same claim to be
not invalid (“No” answer to Question 2); otherwise do not answer this question.

3. DAMAGES

What sum of money, if paid now in cash, do you find from a preponderance of the evidence
would fairly and reasonably compensate Plaintiff Genband for Defendant Metaswitch’s
infringement of the patent claim(s) that you have found were infringed?

 

Signed this _/% ** day of January, 2016

JURY FOREPERSON

 
